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KRAMER LEVIN NAFTALIS & FRANKEL LLP
Adam C. Rogoff
P. Bradley O’Neill
David Braun
1177 Avenue of the Americas
New York, New York 10036
Telephone: (212) 715-9100
Facsimile: (212) 715-8000

Attorneys for Benefit Street Partners
Realty Operating Partnership, L.P.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
                                                                    :
In re:                                                              : Chapter 11
                                                                    :
96 WYTHE ACQUISITION LLC,                                           : Case No. 21-22108 (RDD)
                                                                    :
                                    Debtor.                         :
                                                                    :
------------------------------------------------------------------ X


                        BENEFIT STREET’S OBJECTION TO DEBTOR’S
                         APPLICATION TO USE CASH COLLATERAL

         Benefit Street Partners Realty Operating Partnership, L.P.1 (“Benefit Street”) submits this

objection to the Application of 96 Wythe Acquisition LLC (the “Debtor”) to Use Cash Collateral

[ECF No. 4] (the “Motion”). In support of its Objection, Benefit Street represents as follows:

                                      PRELIMINARY STATEMENT
                  1.       The Debtor operates the Williamsburg Hotel in Brooklyn, New York.

Benefit Street provided the Debtor with a $68 million construction completion loan secured by all

of the assets of the Debtor. That loan matured in early June 2019. Rather than arrange a

refinancing or sale of the collateral, the Debtor has spent the ensuing 21 months litigating with


1
 Benefit Street is a wholly-owned subsidiary of Franklin Resources, Inc. that, together with various subsidiaries,
operates as Franklin Templeton.
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Benefit Street to avoid its indisputable payment default. A week before this case was filed, the

Appellate Division, First Department rejected the Debtor’s arguments on the merits and directed

the entry of summary judgment for Benefit Street.

               2.      In response, the Debtor has filed this chapter 11 case. It offers no plan for

the bankruptcy and no explanation of how it will repay Benefit Street on a matured secured loan

with an outstanding balance in excess of $80 million. Without even approaching Benefit Street to

discuss a consensual adequate protection package, it seeks non-consensual use of Benefit Street’s

cash collateral to fund the case without any agreed process or customary milestones. To “support”

its application, it offers Benefit Street “adequate protection” consisting of (i) an alleged equity

cushion that the Debtor makes no effort to prove, (ii) liens on collateral Benefit Street already

holds, and (iii) the continued operation of the business by the Debtor based on a budget that the

proposed order allows the Debtor to disregard in its discretion and that may allow improper

payments to insiders and affiliates. On its face, such a showing is inadequate to justify the relief

the Debtor seeks, whether on an interim or a final basis.

               3.      That said, Benefit Street agrees the Hotel’s business should be preserved

and is prepared to negotiate a consensual agreement on cash collateral that allows for the payment

of bona fide expenses as part of an agreed process to repay Benefit Street and reorganize the

Debtor.   Consistent with its longstanding litigation-only strategy, however, the Debtor has

systematically starved Benefit Street of information concerning the Hotel’s operations in violation

of the parties’ agreements. To properly assess any use of cash collateral or begin negotiations,

Benefit Street must receive full prompt access to the Debtor’s books and records, including current

and historic information concerning the Debtor’s operating and financial results. Furthermore,

any use of cash collateral (consensual or not) must be subject to market terms such as: an agreed




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line item budget with limited variances, timely and complete reporting to monitor compliance with

that budget, case milestones to assure prompt progress towards a conclusion that addresses creditor

concerns, an independent monitor to assure that the Debtor’s operations are conducted for the

benefit of the estate and not insiders or non-debtor affiliates, and current pay of interest and

professional fees, etc.

                4.        To allow Benefit Street to receive and digest the necessary information and

then negotiate with the Debtor, Benefit Street is prepared to consent to a brief two-week interim

use of cash collateral on terms to be negotiated. If the parties cannot reach agreement, they can

return to the Court to schedule whatever additional briefing or hearings are needed with respect to

a further use of cash collateral.

                                           BACKGROUND
Benefit Street’s Loan and the Debtors’ Defaults
                5.        In December 2017, Benefit Street loaned the Debtor $68 million (the

“Loan”) to finance the completion of construction of the Williamsburg Hotel (the “Hotel”) in

Williamsburg, Brooklyn. The loan was embodied in a loan agreement (the “Loan Agreement”)

and secured by mortgage liens on and security interests in, among other things, the Hotel, the real

property on which it stood, and all improvements, easements, fixtures, personal property, leases,

rents, proceeds and agreements of the Hotel.

                6.        The Loan matured in June 2019 – eight months before the COVID-19

pandemic – but the Debtor has not repaid Benefit Street any portion of the balance due. In the

months before the Loan matured, the Debtor repeatedly defaulted by, among other things, failing

to (i) pay any monthly interest since December 2018, (ii) discharge mechanics’ liens that had

attached to the property, (iii) complete construction of the Hotel in accordance with the parties’

agreements, and (iv) reimburse Benefit Street’s costs and expenses. Beginning in January 2020,


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the Debtor also stopped paying real estate taxes and other charges on the real property underlying

the Hotel. As of today, nearly $3.2 million in unpaid taxes, late charges, and interest have accrued.

See Ex. A.

               7.      As is common with certain types of defaulting borrowers, the Debtor

struggles mightily to lay these failures at the feet of Benefit Street. Despite devoting over half its

Motion to this effort, however, the Debtor somehow leaves out that it has already presented the

same allegations to the New York State courts, which rejected them on the merits.


The New York Courts Reject Debtor’s Arguments and Authorize Benefit Street to Foreclose
               8.      Shortly after the Loan matured, Benefit Street filed a foreclosure action in

the Commercial Division of the New York State Supreme Court. In response, the Debtor asserted

that Benefit Street had anticipatorily breached the Loan Agreement and otherwise prevented the

Debtor from performing.       Based on these allegations, the Debtor asserted some seventeen

affirmative defenses, including estoppel, waiver, unclean hands, failure of conditions precedent,

breach of contract, satisfaction, and setoff. To these, the Debtor added three counterclaims,

including one premised upon the allegation that Benefit Street had breached the parties’

agreements.

               9.      When Benefit Street moved for summary judgment on its foreclosure claim,

the trial court struck seven of the Debtor’s affirmative defenses and two of its counterclaims.

However, it denied the motion with respect to Benefit Street’s foreclosure claim, and declined to

strike ten of the Debtor’s affirmative defenses and one of its counterclaims.

               10.     Benefit Street appealed. On February 16, 2021, the Appellate Division,

First Department, unanimously reversed the trial court’s decision and granted Benefit Street’s

summary judgment motion in full. See Ex. B. In so ruling, the First Department held that:



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        Benefit Street “established prima facie entitlement to summary judgment by producing the
         mortgage, note, and guaranty executed by the defendants, and evidence of defendants’
         default on their obligations thereunder, including their failure to timely repay the principal
         balance of the loan”;

        The “Defendants failed to rebut that evidence”;

        The defendants had “waived their affirmative defenses and counterclaims”; and

        “In any event, the defenses and counterclaims were not viable.”
         Id.
This ruling is binding on the Debtor. It conclusively establishes that the Debtor has defaulted

under the Loan, and precludes further attempts to blame Benefit Street for the Debtor’s defaults.


Benefit Street Has Been Denied Information Concerning the Debtor’s Operations2
                  11.      While the foreclosure litigation proceeded, the Debtor withheld information

concerning the Hotel from Benefit Street in violation of the express terms of the Loan Agreement.

Section 8.4 of the Loan Agreement requires the Debtor to provide Benefit Street with a detailed

monthly Cash Application Statement that shows:

         the net operating income, the amounts and sources of Rents and other revenue received by
         or on behalf of Borrower and the amounts and purposes of Approved Operating Expenses
         and Approved Extraordinary Expenses paid by or on behalf of Borrower with respect to
         the Property for the previous month and year-to-date (including, in each case, a comparison
         to the Approved Annual Budget), or the portion thereof, paid out of Rents or other revenue
         for such calendar month or year-to-date, as applicable; amounts funded into any reserves
         hereunder; amounts paid to Manager, if any; shortfalls that exists in available revenues
         from the Property to pay all or any portion of the Monthly Debt Service Payment and/or
         required deposits into the Tax Account and/or the Insurance Account; any Operating
         Deficiency; and the amount of any distributions made during such month (and year-to-
         date) pursuant to Section 8.1(a) above or from Excess Operating Cash Flow Funds, together
         with a certification of Borrower that Borrower has not made any distributions in violation
         of the terms of Section 8.1(a); such statements also to include delinquency reports, tenant
         and expenses payable and receivable reports, and occupancy statistics. Each such monthly
         statement shall provide for comparisons with the same calendar month in the immediately
         preceding calendar year, including year-to-date information, to the extent Borrower is in

2
  Because the Debtor devoted so much space to misstating the background of its dispute with the lender, Benefit
Street is briefly addressing certain operative facts. Regardless, Benefit Street has a substantial secured claim in
these cases and the Debtor has failed to tailor (or otherwise support) its request for cash collateral to what is
immediately necessary pending further agreement or Court order.


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       possession of such information for the applicable month and/or year-to date for the
       preceding calendar year.


Similarly, Section 4.12 of the Loan Agreement further requires the Debtor to provide Benefit Street

with monthly and quarterly financial information including, among other things, operating

statements, rent rolls, occupancy reports, and cash flow projections.

               12.     Despite these express contractual requirements, since February 2019 – a

period of two years – the Debtor has failed to provide Benefit Street with periodic reports as

required by the Loan Agreement.

               13.     Benefit Street’s filing of the foreclosure action did not materially improve

the information flow. Although the state court appointed a receiver for the Hotel and the terms of

the appointment order required the receiver to furnish copies of the Debtors’ books and records to

Benefit Street and to provide all parties with monthly reporting concerning the operations of the

Hotel, the receiver did not do so. Only when the state court held a series of hearings concerning

the receiver’s conduct earlier this year, did the Debtor and the receiver begin to provide some

information to Benefit Street.      Even then, the information provided was incomplete and

inadequate.

               14.     Indeed, both the Debtor and Benefit Street were before the state court at one

of these hearings on the morning the Debtor filed its chapter 11 petition. The state court directed

Benefit Street to obtain a copy of the transcript “which may be of interest to the Bankruptcy Court.”

See Ex. C at 5. It then stated that “[i]t is apparent that many of the concerns that [Benefit Street]

has expressed about the good faith conduct of the defendants may have a basis in reality.” Id.

Whether the enforced disclosure of information concerning the Hotel played any part in the

Debtor’s decision to file remains unclear.



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                     15.      Because it has not received timely required information reporting from the

Debtor or the court-appointed receiver, Benefit Street does not currently have a clear

understanding of the assumptions underlying the proposed cash collateral budget or the immediate

cash requirements of the Debtor’s business and, thus, cannot properly assess the Debtor’s request

to use cash collateral on an interim or final basis. For example, the Debtor criticizes Benefit

Street’s refusal to approve the use of cash collateral to pay certain employees of the Debtor. See

Motion ¶ 41. But from the sporadic information that it has received, Benefit Street has observed

a significant increase in payroll expense for administrative staff beginning in 2020. Since April

of last year, G&A payroll has increased by over $50,000 per month. These increases appear to be

attributable to new managerial staff whose purpose is unclear.

                     16.      The Court may have wondered how a Brooklyn debtor with a Brooklyn

hotel wound up in a Westchester bankruptcy court. The answer appears to be that, over the last

two years, the Debtor’s equity holders – who preside over a minor, crumbling real estate empire –

have filed several of their other failed projects in this Court.3 In the current Debtor-created

information vacuum, Benefit Street is concerned that reversals in the equity holders’ other projects

may have led them to put administrative staff devoted to those or other properties on the Hotel’s

payroll. Indeed, its understanding (based on admittedly imperfect information) is that many of the

new Hotel employees are current or former employees of the Debtor’s ultimate parent who appear

on the parent’s website. Of course, the Hotel is not a piggybank to sustain failing affiliates of the

Debtor. Perhaps there is another explanation, but the Debtor has not provided it to Benefit Street

and transparency is required when seeking the use of cash collateral.




3
    Benefit Street reserves its rights as to the propriety of this bankruptcy filing in Westchester.


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The Debtor Has Identified No Restructuring Options

               17.     Even though the Loan matured over 20 months ago, the Debtor appears to

have focused its efforts exclusively on litigating with Benefit Street. Over that period, it has never

presented Benefit Street with any proposal to refinance or repay the Loan. Although the Debtor

now appears to argue – without offering evidence – that it has substantial equity in the Hotel,

Benefit Street is not aware that the Debtor has made any effort to sell the collateral or otherwise

realize on that equity. Indeed, its behavior suggests the opposite is true. A rational hotel owner

that believed it had significant equity would never pursue a litigation-only path for two years while

default interest mounted on a matured loan balance. Even now, at the same time it begins another

round of litigation with Benefit Street in this Court, the Debtor does not explain what it hopes to

achieve through the bankruptcy or how the use of Benefit Street’s cash collateral will help

accomplish it. Chapter 11 is not a cost-free “option” for the Debtor’s equity holders to preserve

their equity at the expense of other stakeholders.

                                           OBJECTION
               18.     A debtor-in-possession may not use cash collateral without the consent of

each creditor that has an interest in the collateral or court approval. See 11 U.S.C. § 363(c)(2).

Court approval requires the Debtor to demonstrate that it is providing adequate protection of each

secured creditor’s interest in the property. 11 U.S.C. § 363(e).

               19.     Adequate protection protects the secured creditor from a diminution in

value of its interest in collateral during the period of its use. See In re Worldcom, Inc., 304 B.R.

611, 618-19 (Bankr. S.D.N.Y. 2004). While adequate protection may take different forms, the

Bankruptcy Code lists several examples, including periodic cash payments, replacement liens, and

other relief that “will result in the realization . . . of the indubitable equivalent of [the secured

creditor’s] interest in such property.” 11 U.S.C. § 361.


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               20.     The burden of proof is on the debtor to establish that the interests of its

secured creditors are adequately protected. See 11 U.S.C. § 363(p)(1) (“In any hearing under this

section…the trustee has the burden of proof on the issue of adequate protection.”). “A finding of

adequate protection should be premised on facts, or on projections grounded on a firm evidentiary

basis.” In re Mosello, 195 B.R. 277, 292 (Bankr. S.D.N.Y. 1996).

               21.     The standards for an interim use of cash collateral are even more stringent.

Under Bankruptcy Rule 4001(b)(2), the court may authorize interim use of “only that amount of

cash collateral as is necessary to avoid immediate and irreparable harm to the estate pending a

final hearing” (emphasis added).

               22.     Despite these clear standards, the Debtor does not demonstrate that it will

provide Benefit Street with adequate protection for the use of its cash collateral. The Debtor

suggests that Benefit Street enjoyed an equity cushion in its collateral when it made the loan over

three years ago, Motion ¶ 46, but it offers no evidence to demonstrate such a cushion exists today

– after one year of an ongoing pandemic and two years of default interest – let alone that it is large

enough to provide Benefit Street with adequate protection. Nor does the Debtor acknowledge,

much less account for, the almost $3.2 million in unpaid real estate taxes, other charges, interest

and fees that it has permitted to accumulate on the real property since January 1, 2020 that directly

impair Benefit Street’s collateral. Even if the Debtor could sustain its burden of proof, an equity

cushion alone may not constitute adequate protection where the Debtor’s inadequate financial

reporting and unexplained increases in G&A expenses (potentially for the benefit of insiders) have

made the future value of the Debtor’s business unclear. See Sharon Steel Corp. v. Citibank (In re

Sharon Steel Corp.), 159 B.R. 165,169 (Bankr. W.D. Pa. 1993) (explaining that “[w]hile the

present value of a debtor's assets may be sufficient to constitute adequate protection, a debtor's




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future operational plans may result in a rapid deterioration of the collateral”); In re Atrium

Development Co, 159 B.R. 464, 471 (Bankr. E.D. Va. 1993) (“An equity cushion does not always

respond to or answer fully the whole range of risks to the value of the creditor's encumbrance.”).

               23.     Similarly, “to the extent the Lender does not already have a post-petition

security interest” in its collateral, the Debtor offers Benefit Street such an interest. Motion ¶ 46.

This is, however, an empty gesture. As the Debtor well knows, Benefit Street already holds such

post-petition security interests under the terms of its agreements and Section 552 of the Bankruptcy

Code.

               24.     The Debtor also suggests that merely paying normal course operating

expenses in accordance with its proposed budget will provide Benefit Street with adequate

protection. Motion ¶ 46. The Debtor, however, offers no authority for the proposition that

preservation of ongoing business operations itself constitutes adequate protection (without any

plan for the cases or agreement upon a sale or refinancing path). Whatever the merit of the legal

proposition, moreover, it has no bearing here, where the Debtor has offered no evidence to suggest

that the spending provided for under the proposed budget will preserve or enhance value for

Benefit Street. See, e.g., Resolution Trust Corp. v. Swedeland Dev. Grp., Inc. (In re Swedeland

Dev. Grp., Inc.), 16 F.3d 552, 564 (3d Cir. 1994) (rejecting reliance on speculative projections);

In re YL West 87th Holdings I, LLC, 423 B.R. 421 (Bankr. S.D.N.Y. 2010) (same); Mosello, 195

B.R. at 290 (same). In fact, the Debtor’s budget projects that the Hotel will operate at a loss for

at least the next two months – hardly an indication that the payment of all expenses in the budget

will enhance the value of the collateral. Nor has any detail been provided that the payment of

expenses is tied to projected operations (e.g., based upon existing room bookings) and, therefore,

reasonable.




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               25.       Finally, the Debtor makes no effort to meet the standards for an interim use

of cash collateral. Nowhere does it identify which line items in the proposed budget are necessary

to avoid irreparable harm or explain why such payments are necessary. Instead, the Debtor relies

on the conclusory assertion that it has an immediate need for cash to continue operations, maintain

vendor, employee and guest relationships and otherwise satisfy operational needs for the Hotel.

Motion ¶ 49. That is not a specific showing that any expense is necessary to avoid immediate and

irreparable harm to the estate prior to a final hearing and thus cannot support an award of interim

relief.

               26.       Despite the Debtor’s history of litigation and its failure to establish that it is

providing adequate protection to Benefit Street in connection with its Motion, Benefit Street does

not categorically oppose the Motion. Rather, Benefit Street is prepared to consent to the use of

its cash collateral subject to the negotiation of an agreed adequate protection package. While the

Debtor has made no effort to begin that negotiation, Benefit Street expects that any consensual

agreement will include, at least, the following elements:

                        Complete current and historic financial and operational information on the
                         Hotel. As explained above, the Debtor has not complied with its reporting
                         obligations under the Loan documents for two years. Benefit Street must
                         have open access to all of the Debtor’s current and historic books and
                         records, as well as accurate current reporting of operating and financial
                         information. This would include (but not be limited to) the following
                         information which should be provided on an expedited basis:

                             o Forward booking report for all revenue outlets (rooms, restaurant,
                               banquet etc.).

                             o Prepaid Revenue Report

                             o Accounts Receivable Report

                             o Accounts Payable Report

                             o Last 12 months of hotel operating account bank statements and hotel
                               general ledger.


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                        o Build up for various revenue line items with support.

                        o Build up for various expense line items with support.

                        o Position by position personnel expense with compensation as of end
                          of February 2021 and projected staffing changes for each month of
                          their proposed budget with support.

                        o Forecast of real estate and other taxes

                        o Forecast of insurance financing and premium requirements

                  Agreed Budget with Limited Variance. Because it has been denied
                   information on the Debtor’s business for so long, Benefit Street cannot
                   fairly assess the proposed budget attached to the Motion. Once Benefit
                   Street receives appropriate information, however, any use of cash collateral
                   must be subject to an agreed budget. Any such budget should include line
                   items for such matters as the beginning cash balance, real estate taxes,
                   professional and UST fees, and debt service, all of which are absent from
                   the Debtor’s proposed budget. Furthermore, the form of order the Debtor
                   has submitted allows the Debtor to exceed any line item in the budget
                   without limitation based solely upon its business judgment. This is plainly
                   not market. Any consensual use of cash collateral should allow for no more
                   than a 5% variance from agreed-upon budgeted amounts.

                  Case Milestones. The Debtor has had two years to resolve its issues with
                   Benefit Street but has made no tangible progress towards either refinancing
                   or repaying the matured Loan. Even now, having filed this case, it does not
                   explain how it plans to use bankruptcy to achieve this result. While Benefit
                   Street is prepared to allow the Debtor to pursue a refinancing, the time for
                   these efforts must be limited. The continuing accrual of default interest will
                   only make the refinancing process more difficult and further erode whatever
                   equity the Debtor contends it has in the Hotel. If the Debtor cannot
                   refinance or otherwise repay Benefit Street within this agreed period, the
                   Debtor should retain an acceptable broker and sell the Hotel under Section
                   363 of the Bankruptcy Code. Benefit Street may credit bid its debt at any
                   such sale.

                  Independent Monitor. The Debtor appears to have hired a “Chief
                   Restructuring Officer,” David Goldwasser. Despite his title, publicly
                   available information suggests that Mr. Goldwasser’s independence is open
                   to question. One of the affiliate petitions that the Debtor cites as a basis for
                   laying venue in this District indicates that “GC Realty Advisors, LLC. c/o
                   David Goldwasser” holds a 20% interest in that affiliate. See In re MY2011
                   Grand LLC, Case No. 19-23957 [ECF No. 9, at 17] (Bankr S.D.N.Y. 2019).
                   Based on this information, Mr. Goldwasser may well be an affiliate and
                   insider of the Debtor. Similarly, publicly available information links a


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                         David Goldwasser to an entity named FIA Heritage Holdings, LLC. See
                         Ex. D. The Debtor’s petition lists FIA Heritage Holdings, LLC, at the same
                         address as GC Realty Advisors, as holding an over $3 million unsecured
                         claim against the Debtor. [ECF No. 1 at 7.] Interestingly, this is the only
                         claim the Debtor’s petition does not indicate is “disputed.” Finally, press
                         reports indicate that Mr. Goldwasser was imprisoned for bank fraud in the
                         past. See Ex. E. If true, this information gives creditors little comfort that
                         the estate will be properly administered. To provide creditors with
                         assurance that the Debtor is complying with its fiduciary obligations –
                         especially given a concern that expenses may have been pushed onto the
                         Hotel to benefit the Debtor’s equity holders – a reputable financial
                         professional should be appointed to monitor the Debtor’s operations and
                         report to the Court and creditors.

                        Current pay of interest and professional fees. The use of cash collateral
                         should be subject to the Debtor’s payment of current interest (at a non-
                         default rate for purposes of adequate protection only) and reimbursement of
                         Benefit Street’s professional fees and expenses.

                        Super priority claims and replacement liens. Benefit Street should receive
                         a replacement adequate protection lien on all assets of the Debtor together
                         with a superpriority claim to the extent of any diminution in value, including
                         the use of cash collateral, which liens and superpriority claims shall not be
                         subject to any carve-out other than those agreed to between Benefit Street
                         and the US Trustee and, solely in the event of a consensual use of cash
                         collateral, those agreed to between Benefit Street and the Debtor for the
                         payment of professional fees.

                        Professional Fee Carve Out. The form of order the Debtor submitted
                         imposes a professional fee carve-out on Benefit Street’s collateral. Benefit
                         Street has not consented to the use of its cash collateral for this purpose and
                         will not consent in the absence of a global agreement on the use of cash
                         collateral. See e.g. In re Addison Ltd. P’ship, 185 B.R. 766, 778 (Bankr.
                         N.D. Ill. 1995) (cash collateral may not properly be used to pay
                         administrative expenses unless the secured parties consent or the interest
                         secured by the collateral is adequately protected); In re 680 Fifth Avenue
                         Assocs., 154 B.R. 38, 43 (Bankr. S.D.N.Y. 1993) (denying use of rents to
                         pay administrative expenses where debtors failed to prove that the secured
                         creditor's interest would be adequately protected).

                        Events of Default. Use of Benefit Street’s cash collateral must be subject
                         to customary restrictions and events of default.

               27.       To allow the Debtor to provide the required information to Benefit Street

and for the parties to thereafter engage in good faith negotiations, Benefit Street is prepared to



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consent to an interim order allowing for two-week use of cash collateral in accordance with the

Debtor’s proposed budget. If the parties cannot come to agreement, they will return to the Court

to determine the best way to proceed.

                                         CONCLUSION

               28.     For the foregoing reasons, the Court should deny the Debtor’s Motion on

the terms it has proposed, and instead enter an interim order allowing use of cash collateral in

accordance with the Debtor’s proposed budget for a period of two weeks, while the parties attempt

to negotiate a consensual cash collateral order.



Dated: March 1, 2021
       New York, New York

                                              KRAMER LEVIN NAFTALIS & FRANKEL LLP

                                              /s/ P. Bradley O’Neill
                                              Adam C. Rogoff
                                              P. Bradley O’Neill
                                              David Braun
                                              Kramer Levin Naftalis & Frankel LLP
                                              1177 Avenue of the Americas
                                              New York, New York 10036
                                              Telephone: (212) 715-9100
                                              Facsimile: (212) 715-8000
                                              Email: arogoff@kramerlevin.com
                                                      boneill@kramerlevin.com
                                                      dbraun@kramerlevin.com

                                              Attorneys for Benefit Street Partners Realty
                                              Operating Partnership, L.P.




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                            EXHIBIT B
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK: COMMERCIAL DIVISION

          BENEFIT STREET PARTNERS OPERATING
          PARTNERSHIP, L.P.,

                                          Plaintiff,
                                                                        Index No. 653396/2019
                          - against -

          96 WYTHE ACQUISITION LLC, TOBY                                Assigned Justice:
          MOSKOVITS, YECHIEL MICHAEL                                    Hon. Barry R. Ostrager
          LICHTENSTEIN, RENT A UNIT NY INC.,
          ADVANCED PLUMBING MECHANICAL &
          SPRINKLERS CORP., MA2 FLAGS CONTRACTING                       Motion Sequence No. 3
          CORP., ROCK GROUP NY CORP., CRIMINAL
          COURT OF THE CITY OF NEW YORK, NEW YORK
          STATE DEPARTMENT OF TAXATION AND                              NOTICE OF ENTRY
          FINANCE, and ENVIRONMENTAL CONTROL
          BOARD OF THE CITY OF NEW YORK,

                                          Defendants.


                 PLEASE TAKE NOTICE that the within is a true copy of a Decision and Order of the

          Supreme Court, Appellate Division, First Department, dated February 16, 2021, and duly entered

          by the Clerk of said Court on February 16, 2021.

          Dated: New York, New York
                 February 16, 2021
                                                        SCHWARTZ SLADKUS REICH
                                                        GREENBERG ATLAS LLP
                                                        Attorneys for Plaintiff

                                                        By: /s/Ethan A. Kobre_________
                                                           Ethan A. Kobre
                                                        444 Madison Avenue
                                                        New York, New York 10022
          To:   Counsel of Record (NYSCEF)




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NYSCEF DOC. NO. 19      Supreme Court of the State of New York RECEIVED                     NYSCEF: 02/16/2021

                       Appellate Division, First Judicial Department
          Manzanet-Daniels, J.P., Webber, Oing, Kennedy, JJ.

          13138         BENEFIT STREET PARTNERS OPERATING                Index No. 653396/19
                        PARTNERSHIP, L.P.,                               Case No. 2020-03532
                              Plaintiff-Appellant,

                                      -against-

                        96 WYTHE ACQUISITION LLC, et al.
                             Defendants-Respondents,

                        RENT A UNIT NY INC., et al.,
                              Defendants



          Schwartz Sladkus Reich Greenberg Atlas LLP, New York (Ethan A. Kobre of counsel),
          for appellant.

          Law Office of Abigail Shvartsman, P.C., Brooklyn (Abigail Shvartsman of counsel), for
          respondents.



                  Order, Supreme Court, New York County (Barry R. Ostrager, J.), entered April 9,

          2020, which, to the extent appealed from as limited by the briefs, denied plaintiff’s

          motion for summary judgment on its foreclosure claim as against defendants 96 Wythe

          Acquisition LLC, Toby Moskovits, and Yechiel Michael Lichtenstein, and dismissing

          defendants’ remaining affirmative defenses and counterclaims, unanimously reversed,

          on the law, with costs, and the motion granted.

                  Plaintiff established prima facie entitlement to summary judgment by producing

          the mortgage, note, and guaranty executed by defendants, and evidence of defendants’

          default on their obligations thereunder, including their failure to timely repay the

          principal balance of the loan (see Wilmington Trust v Sukhu, 155 AD3d 591, 591-592




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          [1st Dept 2017]). Defendants failed to rebut that evidence, and they waived their

          affirmative defenses and counterclaims (see Fortress Credit Corp. v Hudson Yards,

          LLC, 78 AD3d 577 [1st Dept 2010]; Red Tulip LLC v Neiva, 44 AD3d 204, 209–210

          [2007], lv dismissed 10 NY3d 741 [2008]). The record does not support defendants’

          contention that the waiver of defenses provisions was rendered ineffective because the

          lender caused or contributed to the loan default. In any event, the defenses and

          counterclaims were not viable.

                          THIS CONSTITUTES THE DECISION AND ORDER
                OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.

                                            ENTERED: February 16, 2021




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    1   SUPREME COURT OF THE STATE OF NEW YORK
        COUNTY OF NEW YORK - CIVIL TERM - PART 61
    2   ---------------------------------------------------X
        BENEFIT STREET PARTNERS OPERATING PARTNERSHIP,
    3
                                         Plaintiff,
    4                                                               Index No.
                    -against-                                       653396-2019
    5
        96 WYTHE ACQUISITION LLC, TOBY MOSKOVITS, YECHIEL
    6   MICHAEL LICHTENSTEIN, RENT A UNIT NY INC, ADVANCED
        PLUMBING MECHANICAL & SPRINKLERS CORP, MA2 FLAGS
    7   CONTRACTING CORP, ROCK GROUP NY CORP, CRIMINAL COURT
        OF THE CITY OF NEW YORK, NEW YORK STATE DEPARTMENT OF
    8   TAXATION AND FINANCE, and ENVIRONMENTAL CONTROL BOARD
        OF THE CITY OF NEW YORK,
    9
                                    Defendants.
   10   ------------------------------------------------X
                                            60 Centre Street
   11   Microsoft Teams                     New York, New York
                                            February 23, 2021
   12

   13      B E F O R E:

   14                   HONORABLE BARRY OSTRAGER,

   15                                 JUSTICE

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    1   A P P E A R A N C E S:

    2   SCHWARTZ SLADKUS REICH GREENBERG ATLAS LLP
        Attorneys for the Plaintiff
    3   444 Madison Avenue
        New York, New York 10022
    4   BY: ETHAN KOBRE, ESQ.
             VICTORIA SERIGANO, ESQ.
    5

    6   KELLNER HERLIHY GETTY FRIEDMAN
        Attorneys for the Receiver
    7   470 Park Avenue
        New York, New York 10016
    8   BY: DOUGLAS KELLNER, ESQ.
             STEPHANIE LIM, ESQ.
    9
        ALSO PRESENT:      CONSTANTIN SAGONAS, RECEIVER
   10                      JONATHAN NOAH SCHWARTZ, ESQ.

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                                          Proceedings
    1                    THE COURT:      Good morning, everyone.         We had

    2          blocked out this time to accomplish a number of things,

    3          including dealing with the motion of defendants' counsel to

    4          withdraw and plotting a course forward in this case, which

    5          could have been handled a lot differently by everybody

    6          concerned, including me.

    7                    Be that as it may, I understand that at 9:01 a.m.

    8          this morning, the debtor filed a bankruptcy petition and it

    9          is my understanding, and anyone could correct me if I am

   10          wrong, that at least for the next 30 days, there is an

   11          automatic stay of all proceedings in this Court in this case

   12          and that any relief that the plaintiff wishes to seek must

   13          be sought in the bankruptcy court and it may even be that

   14          any relief that the defendant's counsel wishes to seek may

   15          have to be sought in the bankruptcy court.             But everyone

   16          can put on the record whatever they think is appropriate to

   17          put on the record of these proceedings, which I will ask

   18          everyone to order a copy of.

   19                    MR. KOBRE:     Your Honor, Ethan Kobre for the

   20          plaintiff.

   21                    I was obviously not aware of the bankruptcy filing

   22          until I received it or -- Ms. Magaldi told me about it.               I

   23          would say, as your Honor may have seen, we were trying to

   24          work out a stipulation with counsel for the receiver for Mr.

   25          Sagonas to step down and to be replaced by another temporary
                                               cg
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    1          receiver.     I believe that we have an agreement in principle

    2          and we have actually drafted a stipulation to be so ordered

    3          by your Honor.      I don't believe that a stipulation to that

    4          effect would be barred by the automatic bankruptcy stay.            I

    5          think it is -- you know, it is a consensual stipulation

    6          between a party and a non-party, Mr. Sagonas.

    7                      I think that we can still enter that stipulation, I

    8          believe your Honor can still so order that stipulation and I

    9          would say while I don't think anyone on this meeting link is

   10          surprised by the bankruptcy filing, I do think it

   11          underscores the need to have a temporary receiver in the

   12          hotel that will be assertive with these defendants who have

   13          now chosen to file a bankruptcy petition.             So again, I

   14          think it underscores the need for another temporary receiver

   15          and I don't think it would violate the automatic bankruptcy

   16          stay.

   17                      So I would respectfully ask that we conclude that

   18          stipulation and again respectfully ask that your Honor so

   19          order it, so that we can have a new receiver in place.

   20                      THE COURT:    I would be concerned that I would be

   21          violating the automatic stay.         It is not my place to offer

   22          legal advice, but I'm highly confident that the bankruptcy

   23          judge to whom the bankruptcy of the defendant has been

   24          referred could so order that stipulation and all of the

   25          arguments that you orally advanced to me could easily and
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    1          quickly be advanced in an order to show cause before the

    2          bankruptcy court and that is the Court that has jurisdiction

    3          over the estate at this point in time.

    4                    Similarly, to the extent that defendants' counsel

    5          wants to be relieved, that is an application that can be

    6          made to the bankruptcy court as well.           I don't think there

    7          is anything I have the power to do in this case effective

    8          upon my receiving notice that the debtor has filed a

    9          petition in bankruptcy.

   10                    So unless anybody has anything else to say, I am

   11          going to direct you to order a copy of the transcript, which

   12          may be of interest to the bankruptcy court.             It is apparent

   13          that many of the concerns that the plaintiff has expressed

   14          about the good faith conduct of the defendants may have a

   15          basis in reality.

   16                    So, do we know the name of the bankruptcy judge to

   17          whom the case has been assigned?

   18                    Well, do you, Mr. Kobre?

   19                    MR. KOBRE:     I am looking for it but I cannot find

   20          it.

   21                    THE COURT:      Maybe Mr. Kellner does.

   22                    MR. KELLNER:       But I am also logging in now to see

   23          if I could find it.

   24                    (Pause in proceedings)

   25                    MR. KELLNER:     All right.
                                               cg
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                                          Proceedings
    1                    MR. KOBRE:     Perhaps defendants' counsel knows the

    2          judge assigned?

    3                    THE COURT:      I think Mr. Kellner is looking for it

    4          as we speak.

    5                    MR. KELLNER:     That's right and I have the docket

    6          report coming up and the judge is not yet assigned and it is

    7          in the White Plains District Division.

    8                    THE COURT:      Well, there is only one bankruptcy

    9          judge in the White Plains District.           I could be mistaken,

   10          but I believe it is Judge Drain.

   11                    MR. KELLNER:     I think you're right.

   12                    THE COURT:      All right.

   13                    Well, you all know how to proceed from here.              As

   14          indicated, you have to order a copy of the transcript and I

   15          will await further advice concerning the developments in the

   16          bankruptcy court and in the meantime, this case is stayed

   17          pending further orders from the bankruptcy court.

   18                    All right.     Have a nice day, everyone.

   19                    MR. KELLNER:     Thank you, your Honor.

   20                    MR. KOBRE:     Thank you.

   21                                *        *        *
                        Certified that the foregoing is a true and accurate
   22          transcript of the original stenographic minutes of this
               case.
   23
                                     --------------------
   24                                   Claudette Gumbs
                                    Senior Court Reporter
   25

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  FIA HERITAGE HOLDINGS LLC
  Company Number
        L18000157319
  Status
        Active
  Incorporation Date
        27 June 2018 (over 2 years ago)
  Company Type
        Florida Limited Liability
  Jurisdiction
        Florida (US)
  Agent Name
        DAVID GOLDWASSER
  Agent Address
        3480 N 40TH STREET, HOLLYWOOD, FL 33021
  Directors / Officers

                 DAVID GOLDWASSER
                 DAVID GOLDWASSER, agent

  Source Florida Department of State Division of Corporations, http://www.sunbiz.org, 1 Jan 2021
  Add data (website, address, etc)

  Company Addresses
  Head Office Address

  7280 W PALMETTO PARK ROAD, 203N, BOCA RATON, FL, 33433

  Mailing Address

  7280 W PALMETTO PARK ROAD, 203N, BOCA RATON, FL, 33433

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       Incorporated
  2018-06-27 - 2018-12-31
       Addition of officer DAVID GOLDWASSER,
  2018-06-27 - 2018-12-31
       Addition of officer DAVID GOLDWASSER, agent

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      Identifier System       Identifier Categories
  US Federal EIN/TIN number APPLIED FOR Tax         details

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           Impact
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                             EXHIBIT E
3/1/2021    21-22108-rdd               Doc 11         Filed 03/01/21
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                                                              Rise Brooklyn Multifamily 03/01/21 19:20:14
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                                  Amid fraud case, a bevy of Brooklyn properties end
                                  up in bankruptcy court
                                  Two accused fraudsters and a mysterious real estate investor are linked in a recent
                                  series of Chapter 11 filings
                                   New York                                                                   Jun. 17, 2019 07:00 AM
                                  By Mary Diduch and Eddie Small




                            Clockwise from left: 119 Rogers Avenue, 325 Franklin Avenue, 53-55 Stanhope Street and 73 Empire
                            Boulevard (Credit: Google Maps)

                            Nearly 20 limited liability companies for individual multifamily buildings that are linked to a federal fraud
                            complaint are now bankrupt.

                            The filings late last month in a U.S. bankruptcy court in White Plains also relate to over a dozen foreclosure
                            cases initiated by an affiliate of Maverick Real Estate Partners, which in court filings is seeking information
                            on the identity of the owner behind the low-rise, residential properties, all of which are scattered throughout
                            Brooklyn.

                            In April 2017, Israeli investors Jacob and Binyomin Schonberg, Binyomin Halpern and Raphael Barouch
                            Elkaim alleged in a complaint filed in federal court in Brooklyn that Yechezkel Strulovich and Yechiel
                            Oberlander defrauded them out of more than $20 millionin a scheme carried out “in the style of Bernie
                            Madoff.”

                            Eleven properties that are now in Chapter 11 proceedings — located predominantly in the neighborhoods
                            surrounding Williamsburg and Crown Heights — were also named as defendants in the fraud case against
                            Strulovich and Oberlander. That case, which a judge dismissed in part and sent to arbitration in 2017, included
                            more than 40 defendants, mostly LLCs that have not filed for bankruptcy.

                            The LLCs that are bankrupt and own the underlying Brooklyn properties all list David Goldwasser of GC
                            Realty Advisors as their authorized signatory, according to court filings. GC Realty is described as a
                            commercial real estate advisory firm, per its LinkedIn page, which notes that it is based in Boca Raton,
                            Florida, and has offices in New York. The state’s Division of Corporations shows that GC Realty has an
                            address in East Midwood, Brooklyn.

                            Goldwasser is also listed as a principal at FIA Capital Partners, which is also based out of Florida and New
                            York, according to his apparent LinkedIn profile. A message left with FIA was not returned by the time of this
                            story. The firm specializes in acquiring distressed properties and portfolios, according to its website.

                            Questions over control

https://therealdeal.com/2019/06/17/amid-fraud-case-a-bevy-of-brooklyn-properties-end-up-in-bankruptcy-court/                                  1/3
3/1/2021    21-22108-rdd             Doc 11          Filed  Low 03/01/21           EnteredBankruptcy
                                                                 Rise Brooklyn Multifamily  03/01/21    19:20:14
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                            The series of bankruptcies filed in White Plains starting on
                                                                                         37
                            May 20 show that all of the properties, which number at
                            least 18, are also affiliated with 73 Empire Development
                            LLC. The latter owns the ground lease on a roughly
                            30,000-square-foot development site — it’s currently a
                            vacant one-story retail building — at 73 Empire Boulevard
                            in Crown Heights.

                            Empire Development, which is one of the defendants in
                            the fraud case against Strulovich and Oberlander, also filed
                            for bankruptcy in February. The debtor’s plan, according to
                            court records in White Plains, is to build a 58,000-square-
                            foot, two-story retail property at 73 Empire Boulevard.

                            But the connection
                            between Goldwasser’s
                            GC Realty, Empire
                            Development and the
                            18 other bankrupt
                            properties is not yet
                            clear. Maverick, the
                            debt fund led by David
                            Aviramthat buys
                            distressed mortgages,
                            wants some clarity on
                            the matter.

                            A recent filing from                                            GC Realty Advisors’ David Goldwasser

                            the debtors claims that                                         (Credit: LinkedIn)

                            one of Maverick’s
                            affiliates, Brooklyn
                            Lender LLC, took on
                            13 notes and
                            mortgages — totaling
                            $36 million — on 26
                            properties that
                            originated with
                            Signature Bank. As a
                            result of the Chapter
                            11 filings, Maverick
                            wants a judge to allow     Maverick’s David Aviram
                            a full examination into    (Credit: LinkedIn)
                            who controls the
                            various debtors, pointing to Goldwasser’s name in court documents.

                            “To Brooklyn Lender’s knowledge, Goldwasser was not previously involved with the Debtors, and
                            understanding his new role and responsibilities with respect to these Bankruptcy Cases and the Debtors’
                            management is of paramount importance,” Maverick said in a recent filing.

                            Maverick noted that when the Signature Bank loans were made, Strulovich maintained that he was the 100
                            percent sole member of the debtor entities. In the fraud case, however, he admitted this was not the case. In
                            October 2017, Maverick’s Brooklyn Lender filed 14 foreclosure casesagainst the now bankrupt properties,
                            alleging that the loans were in default, in part due to misrepresentations by their owners.



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                            The petition made by Maverick in bankruptcy court now asserts that a further examination is needed to
                            determine who actually owns the Brooklyn properties, citing a guilty plea by Goldwasser to defrauding two
                            banks in the early 2000s. Goldwasser was sentenced to 27 months in federal prison — Federal Bureau of
                            Prisons records show he was released in September 2005 — and ordered to pay $2.8 million in restitution. A
                            judge also ordered that Goldwasser “is not to be employed in any position requiring fiduciary
                            responsibilities.”

                            All of the debtors in the bankruptcy cases, except Empire Development, have opposed the motion by
                            Brooklyn Lender, claiming that its parent Maverick has an “unspoken agenda” and that they are working on a
                            plan that includes paying back Maverick. Lists of unsecured creditors in the various bankruptcy cases show
                            that Brooklyn Lender is owed between $2.7 million and nearly $5 million, while the New York-based law firm
                            Abrams Fensterman is owed a little more than $150,000.

                            Mark Frankel, an attorney with New York’s Backenroth Frankel & Krinsky representing the debtors in
                            bankruptcy proceedings, declined to comment, as did Maverick’s Aviram, which is being represented in
                            bankruptcy court by Stroock & Stroock & Lavan. Strulovich and Oberlander could not be reached and their
                            lawyers did not return requests for comment.

                            Unresolved fraud claims

                            In the fraud case against Strulovich and Oberlander, the defendants said that the money they received from the
                            plaintiffs would be invested in Brooklyn properties that they would buy, develop and rent out, with returns on
                            those investments coming in six to seven months. The plaintiffs also would receive 45 percent of the profits
                            from the multifamily purchases.

                            But plaintiffs claimed that Strulovich, Oberlander and other defendants inflated the value of that real estate
                            and used their money to acquire and develop properties for their own personal benefit, pay off personal debts
                            and support their “lavish lifestyles,” according to the civil complaint filed two years ago. The Brooklyn sites
                            purchased with their funds were “left to languish, undeveloped and dilapidated,” alleged the plaintiffs.

                            “The entire process was nothing more than an elaborate fraud to personally enrich the individual defendants,”
                            said their lawsuit.

                            Court filings in that litigation claim that Oberlander allegedly approached the plaintiffs in early 2012 about
                            investing in a project with him and Strulovich at 908 Bergen Street in Crown Heights. Oberlander sent
                            prospectuses for 19 properties between 2012 and 2014 that were meant to entice the plaintiffs into make more
                            investments, they asserted in the dispute.

                            The defendants repeatedly told the plaintiffs it would cost more to buy the Brooklyn buildings than it actually
                            did, according to court filings in the case. As an example, the plaintiffs claimed they were told that the cost of
                            buying 908 Bergen Street would be $425,000, when the actual cost was $200,000. The plaintiffs ultimately
                            gave more than $20 million to Strulovich and Oberlander, they claimed.

                            As for the defendants, they did enough work on the Brooklyn properties to renovate some of the smaller ones,
                            refinance the original loans on them and refund the principal investments of the plaintiffs so they would be
                            “lulled into a false sense of security,” according to their lawsuit.

                            By early 2016, court records show that the plaintiffs became suspicious about the state of their investments
                            when some of the larger properties, such as 657 Fifth Avenue and 980 Atlantic Avenue in Brooklyn, had not
                            progressed. The plaintiffs soon found out that Strulovich and Oberlander were looking to sell some of the
                            Brooklyn properties they had invested in, without their knowledge.

                            Despite the partial dismissal and arbitration ruling, the dispute between the parties appears to remain
                            unresolved. The last court filing in the fraud case came in late February. Yitzchack Soloveichik of Bronstein,
                            Gewirtz & Grossman, a new lawyer representing the plaintiffs, did not return a request for comment about the
                            ongoing dispute.



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